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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------- x
   MOSES STRAUSS, et al.,                                     :
                                                              :
                                      Plaintiffs,             :
                                                              :           OPINION AND ORDER
                                                              :            06-cv-702 (DLI) (RML)
                           -against-                          :
                                                              :
                                                              :
   CRÉDIT LYONNAIS, S.A.,                                     :
                                                              :
                                      Defendant.              :
                                                              :
   ---------------------------------------------------------- x
   BERNICE WOLF, et al.,                                      :
                                                              :
                                      Plaintiffs,             :
                                                              :            07-cv-914 (DLI) (RML)
                                                              :
                           -against-                          :
                                                              :
                                                              :
   CRÉDIT LYONNAIS, S.A.,                                     :
                                                              :
                                      Defendant.              :
                                                              :
   ---------------------------------------------------------- x
   DORA L. IRIZARRY, Chief United States District Judge:

           Approximately 200 individuals and estates of deceased persons (collectively, “Plaintiffs”),

   brought this consolidated action against defendant Crédit Lyonnais, S.A. (“Defendant”), seeking

   to recover damages from fifteen terrorist attacks in Israel and Palestine pursuant to the civil liability

   provision of the Antiterrorism Act of 1992 (“ATA”), 18 U.S.C. § 2333(a) (“Section 2333(a)”).

   Specifically, Plaintiffs allege that Defendant is liable civilly pursuant to the ATA's treble damages

   provision for: (1) aiding and abetting the murder, attempted murder, and serious physical injury of

   American nationals outside the United States in violation of 18 U.S.C. § 2332; (2) knowingly

   providing material support or resources to a Foreign Terrorist Organization (“FTO”) in violation
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   of 18 U.S.C. § 2339B; and (3) willfully and unlawfully collecting and transmitting funds with the

   knowledge that such funds would be used for terrorist purposes in violation of 18 U.S.C. § 2339C.

   Defendant now brings the instant limited renewed motion for summary judgment pursuant to

   Federal Rule of Civil Procedure 56. For the reasons set forth below, Defendant’s motion for

   summary judgment is granted.

                                                  BACKGROUND 1

            Plaintiffs first filed a complaint arising out of thirteen terrorist attacks in Strauss v. Crédit

   Lyonnais, S.A. 2 on February 16, 2006. See, Compl., Strauss Dkt. Entry No. 1. On October 5,

   2006, the late Honorable Charles P. Sifton, then presiding, dismissed Plaintiffs’ aiding and abetting

   claim and claims arising out of three attacks as time barred, but denied dismissal of Plaintiffs’

   remaining claims and granted Plaintiffs leave to amend their complaint. See, Strauss I, 2006 WL

   2862704, at *19. On March 2, 2007, Plaintiffs filed a complaint in Wolf v. Crédit Lyonnais, S.A.

   Wolf, Dkt. Entry No. 1. In light of Judge Sifton’s rulings in Strauss I, the parties in Wolf agreed

   to dismissal of their aiding and abetting claim. Wolf, Dkt. entry No. 31. On November 6, 2006,

   Plaintiffs filed an amended complaint in Strauss, realleging the claims that Judge Sifton deemed

   time barred in Strauss I. Strauss Dkt. Entry No. 52. On August 6, 2007, Judge Sifton again

   dismissed those claims as time barred. Strauss v. Crédit Lyonnais, S.A. (“Strauss II”), 2007 WL

   2296832, at *9 (E.D.N.Y. Aug. 6, 2007). In light of Judge Sifton’s ruling regarding the time barred

   claims arising out of three attacks in Strauss II, the parties in Wolf agreed to dismissal of Plaintiffs’



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    The Court assumes familiarity with the facts underlying this action, which are summarized more fully in the Court's
   previous orders. See, e.g., Strauss v. Crédit Lyonnais, S.A. (“Strauss I”), 2006 WL 2862704, at *1-6 (E.D.N.Y. Oct.
   5, 2006); See also, Strauss v. Crédit Lyonnais, S.A. (“Strauss III”), 925 F. Supp.2d 414, 417-424 (E.D.N.Y. 2013).
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     By order dated October 7, 2011, Strauss and Wolf formally were consolidated for the purposes of a hearing, trial,
   or other adjudication of liability. Citations to the “Strauss Docket” are to Strauss v. Crédit Lyonnais, S.A., 06-CV-
   702. Citations to the “Wolf Docket” are to Wolf v. Crédit Lyonnais, S.A., 07-CV-914. Where documents have been
   filed on both dockets, the Court cites to the Strauss Docket only, as the lead case.


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   claims arising out of the same three attacks. Wolf, Dkt. Entry No. 36.

          On February 28, 2013, the Court granted in part and denied in part Defendant’s first motion

   for summary judgment. See, Strauss III, 925 F. Supp.2d 414. In Strauss III, the Court dismissed

   the claims brought by Shlomo Tratner, individually and on behalf of the Estate of Tiferet Tratner,

   in connection with the September 24 Attack only, and allowed the claims based on the remaining

   fourteen attacks to proceed. See, Id. at 452-53. Additionally, the Court granted in part Café Hillel

   Plaintiffs’ cross-motion for summary judgment to the extent that they proved Hamas’

   responsibility for the Café Hillel attack. See, Id. The Court denied the remainder of Café Hillel’s

   motion for summary judgment. See, Id.

          On June 5, 2014, Defendants’ moved to dismiss Plaintiffs’ claims for lack of personal

   jurisdiction pursuant to Rule 12(b)(2), or in the alternative, for summary judgment pursuant to

   Rule 56. See, Strauss Dkt. Entry No. 369. On March 31, 2016, the Court denied Defendant’s

   motion in its entirety. Strauss v. Crédit Lyonnais, S.A. (“Strauss IV”), 175 F. Supp.3d 3, 32

   (E.D.N.Y. 2016).

          After the Court’s decision in Strauss IV, on December 6, 2016 Defendant moved for partial

   reconsideration of the Court’s decision in Strauss III. See, Dkt. Entry Nos. 421-425. Specifically,

   Defendant moved for reconsideration of the Court’s decision that: (1) Israeli military court

   convictions are admissible evidence, (2) Plaintiffs brought forth sufficient admissible evidence to

   create a genuine issue of material fact as to Hamas’s responsibility for the Bus No. 19 Attack, and

   (3) Plaintiffs’ witness Ronni Shaked’s eyewitness testimony concerning the March 7, 2003 and

   October 22, 2003 Attacks are admissible. See generally, Id. The Court granted Defendant’s

   motion only to the extent that Plaintiffs are collaterally estopped from arguing that Hamas

   committed the January 29, 2004 Attack. Strauss v. Crédit Lyonnais, S.A. (“Strauss V”), 2017 WL



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   4480755, at *5 (E.D.N.Y. Sept. 30, 2017). The Court denied the remainder of Defendant’s motion

   for partial reconsideration. Id.

           Pursuant to the 2013 statute of limitations amendment to the Anti-Terrorism Act (“ATA”),

   Plaintiffs’ claims arising from five attacks (the “Reinstated Attacks”), previously dismissed by this

   Court as time barred, were reinstated. See, ECF Order dated July 16, 2013. On September 26,

   2016, Defendant moved for summary judgment as to the Reinstated Attacks. See, Strauss Dkt.

   Entry No. 427. The Court denied Defendant’s motion to the extent that: (1) Plaintiffs’ expert

   Ronni Shaked may testify to put factual evidence already admitted into context to establish Hamas’

   responsibility for an attack, but not to establish the basic facts in the first instance; (2) Plaintiffs’

   expert Eli Alshech’s testimony is admissible; (3) Israeli military court conviction records are

   admissible; (4) 2005 and 2007 ISA Reports are admissible; (5) there is sufficient admissible

   evidence for a reasonable jury to conclude that Hamas is responsible for the Reinstated Attacks;

   and (6) a video of Muhammad Farhat is admissible subject to a finding of authenticity and

   reliability at a hearing. Strauss v. Crédit Lyonnais, S.A. (“Strauss VI”), 2017 WL 4481126, at *5

   (E.D.N.Y. Sept. 30, 2017). The Court granted Defendant’s summary judgment motion to the

   extent that: (1) the testimony of Plaintiffs’ fact witnesses is not admissible; (2) hearsay documents

   such as newspaper reports, claims of responsibility on Hamas-sponsored websites, and video wills,

   generally, are not admissible; and (3) Plaintiffs' § 2339C claims are dismissed. Id.

           On March 14, 2018, the Court granted Defendant permission to file a second renewed

   motion for summary judgment to address the narrow issue of how the Second Circuit’s decision

   in Linde v. Arab Bank, Plc, 882 F.3d 314 (2d Cir. 2018), supports its position. On May 23, 2018,

   Defendant filed the instant motion for summary judgment. See, Mot. For Summary Judgment

   (“Mot.”), Strauss Dkt. Entry No. 462. Plaintiffs opposed Defendant’s motion. See, Memorandum



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   in Opposition (“Opp.”), Strauss Dkt. Entry No. 470. Defendant replied. See, Reply in Support of

   Motion for Summary Judgment (“Reply”), Strauss Dkt. Entry No. 471.

                                         LEGAL STANDARD

   I.     Summary Judgment

          Summary judgment is appropriate where “the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

   Civ. P. 56(a). The court must view all facts in the light most favorable to the nonmoving party,

   but “only if there is a ‘genuine’ dispute as to those facts.” Scott v. Harris, 550 U.S. 372, 380

   (2007). “When opposing parties tell two different stories, one of which is blatantly contradicted

   by the record, so that no reasonable jury could believe it, a court should not adopt that version of

   the facts for purposes of ruling on a motion for summary judgment.” Id. A genuine issue of

   material fact exists if “the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The nonmoving

   party, however, may not rely on “[c]onclusory allegations, conjecture, and speculation.” Kerzer

   v. Kingly Manufacturing, 156 F.3d 396, 400 (2d Cir. 1998). “When no rational jury could find in

   favor of the nonmoving party because the evidence to support its case is so slight, there is no

   genuine issue of material fact and a grant of summary judgment is proper.” Gallo v. Prudential

   Residential Services, Limited Partnership, 22 F.3d 1219, 1224 (2d Cir. 1994) (citing Dister v.

   Continental Group, Inc., 859 F. 2d 1108, 1114 (2d Cir. 1988)).

   II.    Primary Liability Under the ATA

          Section 2333(a) provides a civil remedy for “[a]ny national of the United States injured in

   his or her person, property, or business by reason of an act of international terrorism, or his or her




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   estate, survivors, or heirs may sue therefor in any appropriate district court of the United

   States . . .” 18 U.S.C. § 2333(a). Under the ATA, “international terrorism” means activities that:

          (A) involve violent acts or acts dangerous to human life that are a violation of the
          criminal laws of the United States or of any State, or that would be a criminal
          violation if committed within the jurisdiction of the United States or of any State;

          (B) appear to be intended--

                  (i) to intimidate or coerce a civilian population;

                  (ii) to influence the policy of a government by intimidation or coercion; or

                  (iii) to affect the conduct of a government by mass destruction,
                  assassination, or kidnapping; and

          (C) occur primarily outside the territorial jurisdiction of the United States, or
          transcend national boundaries in terms of the means by which they are
          accomplished, the persons they appear intended to intimidate or coerce, or the
          locale in which their perpetrators operate or seek asylum . . .

   18 U.S.C. § 2331(1); See, Linde, 882 F.2d 314. Thus, the ATA has four separate requirements for

   an act to constitute international terrorism. The act at issue must: (1) involve violence or endanger

   human life; (2) violate federal or state criminal law if committed in the United States; (3) appear

   to be intended to intimidate or coerce civilian population, influence government policy, or affect

   government conduct by specified means; and (4) occur primarily outside the United States or

   transcend national boundaries. See, Linde, 882 F.3d at 326 (citing Licci ex rel. Licci v. Lebanese

   Canadian Bank, SAL, 673 F.3d 50, 68 (2d Cir. 2012)).

          Plaintiffs bring their claims under 18 U.S.C. § 2339B as the predicate criminal violation to

   satisfy the second prong, which requires that the act violate federal criminal law. Section 2339B

   makes it a felony to “knowingly provide[] material support or resources to a [F]oreign [T]errorist

   [O]rganization,” or attempting or conspiring to do so. 18 U.S.C. § 2339B; See also, Weiss v.

   National Westminster Bank PLC, 768 F.3d 202, 207 (2d Cir. 2014). Under § 2339B, “a defendant



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   may be liable for civil remedies under § 2333(a) for providing material support to an organization

   that solicits funds for an FTO,” even if that support is not provided directly to the FTO itself.

   Weiss, 768 F.3d at 209.

          In Linde, the Second Circuit rejected the argument that providing material support to a

   known FTO in violation of § 2339B invariably constitutes a violent act or act dangerous to human

   life. Linde, 882 F.3d at 326. (“[T]he provision of material support to a terrorist organization does

   not invariably equate to an act of international terrorism. Specifically, . . . providing financial

   services to a known terrorist organization may afford material support to the organization even if

   the services do not involve violence or endanger life and do not manifest the apparent intent

   required by § 2331(1)(B).”). The Second Circuit explained that, “conduct that violates a material

   support statute can also satisfy the § 2331(1) definition requirements of international terrorism in

   some circumstances.” Id. (emphasis added). However, the Second Circuit found that it was

   “incorrect [for the trial court in Linde] to instruct the jury that a finding that Arab Bank provided

   material support to Hamas in violation of § 2339(B) was alone sufficient to prove the bank's own

   commission of an act of international terrorism under § 2333(a).” Id. Instead, the jury “needed to

   be instructed on and to find proved all of § 2331(1)’s definitional requirements for an act of

   international terrorism, including those pertaining to violence or danger and the apparent intent to

   intimidate or influence.” Id.

          In Boim v. Holy Land Foundation for Relief and Development, the Seventh Circuit rejected

   the plaintiffs’ arguments that the defendant’s financial donations to Hamas and Hamas-affiliated

   charities constituted an act of international terrorism as a matter of law when the defendant knew

   that Hamas used such money to finance the killing of Israeli Jews (some of whom were American

   citizens). 549 F.3d 685 (7th Cir. 2008) (en banc). The Second Circuit in Linde explained that the



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   holding in Boim was not contrary to its holding, noting that, in Boim, the Seventh Circuit had not

   determined that the provision of material support is “always” an act of international terrorism.

   Linde, 882 F.3d at 327. Instead, in Boim, the Seventh Circuit analogized that “‘giving money to

   Hamas’ [is like] ‘giving a loaded gun to a child,’ explaining that, while neither transfer is a violent

   act, both are acts ‘dangerous to human life.’” Id. (quoting Boim, 549 F.3d at 690). The Seventh

   Circuit in Boim focused on the foreseeability that providing Hamas funding would enable Hamas

   to kill more people. Id. However, the Second Circuit in Linde explained: “We need not here

   decide whether we would similarly conclude that a jury could find that direct monetary donations

   to a known terrorist organization satisfy § 2331(1)'s definitional requirements for an act of

   terrorism.” Id. (citing Licci, 673 F.3d at 68–69). The Second Circuit in Linde concluded “only

   that providing routine financial services to members and associates of terrorist organizations is not

   so akin to providing a loaded gun to a child as to . . . compel a finding that as a matter of law, the

   services were violent or life-endangering acts that appeared intended to intimidate or coerce

   civilians or to influence or affect governments.” Id. Thus, the Second Circuit determined that the

   provision of material support to a terrorist organization alone is not enough to constitute

   international terrorism.

   III.   Secondary Liability Under the ATA

          Initially, the ATA did not provide a civil remedy against secondary actors who facilitated

   acts of international terrorism by others. See, Linde, 882 F.3d at 319-20 (citing Rothstein v. UBS

   AG, 708 F.3d 82, 97 (2d Cir. 2013)) (“Initially, the ATA afforded civil relief only against the

   principals perpetrating acts of international terrorism.”). On September 28, 2016, Congress

   amended the ATA by enacting the Justice Against Terrorism Act, Publ. L. No. 114-222 130 Stat.

   852 (2016) (“JASTA”). JASTA amends § 2333 by providing a cause of action against “any person



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   who aids and abets, by knowingly providing substantial assistance, or who conspires with the

   person who committed . . . an act of international terrorism.” 18 U.S.C. § 2333(d)(2).

          “JASTA expressly states that such secondary liability claims are not temporally limited to

   terrorist acts occurring after that statute's enactment.” Linde, 882 F.3d at 320. Rather, aiding and

   abetting and conspiracy claims can be asserted “as of the date on which such act of international

   terrorism was committed, planned, or authorized.” 18 U.S.C. § 2333(d). JASTA’s amendment to

   the ATA applies to any civil action: “(1) pending on, or commenced after [the date of JASTA’s]

   enactment; and (2) arising out of an injury . . . on or after September 11, 2001.” Id. at Statutory

   Note (Effective and Applicability Provisions); See also, Linde, 882 F.3d at 320.

          In enacting JASTA, Congress instructed that the “proper legal framework for how [aiding

   and abetting] liability should function” under the ATA is the framework identified in Halberstam

   v. Welch, 705 F.2d 472 (D.C. Cir. 1983). 18 U.S.C. § 2333 Statutory Note (Findings and Purpose

   § 5); See also, Linde, 882 F.3d at 329. Halberstam set forth three elements for finding aiding and

   abetting liability in the civil context: (1) “the party whom the defendant aids must perform a

   wrongful act that causes an injury,” (2) “the defendant must be generally aware of his role as part

   of an overall illegal or tortious activity at the time that he provides the assistance,” and (3) “the

   defendant must knowingly and substantially assist the principal violation.” 705 F.2d at 487. As

   discussed in Linde, Halberstam identified six relevant factors for “determining ‘how much

   encouragement or assistance is substantial enough’ to satisfy the third element: (1) the nature of

   the act encouraged, (2) the amount of assistance given by defendant, (3) defendant's presence or

   absence at the time of the tort, (4) defendant's relation to the principal, (5) defendant's state of

   mind, and (6) the period of defendant's assistance.’” Linde, 882 F.3d at 329 (citing Id. at 483-84).




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           The Second Circuit has explained that, “[a]iding and abetting requires the secondary actor

   to be aware that, by assisting the principal, it is itself assuming a role in terrorist activities.” Linde,

   882 F.3d at 319 (citation omitted). For a defendant that is a financial institution, this requires a

   showing that “in providing [financial] services, the bank was generally aware that it was thereby

   playing a role in [the terrorist organization’s] violent or life-endangering activities,” which

   “requires more than the provision of material support to a designated terrorist organization.” Id.

   (citation omitted).

                                                DISCUSSION

   I.      Defendant’s Primary Liability Under the ATA

           Plaintiffs assert, and this Court had concluded before the Second Circuit’s decision in

   Linde, that a triable issue of material fact remains as to whether Defendant committed an act of

   international terrorism by facilitating the transfers of funds from Comite de Bienfaisance et de

   Secours aux Palestiniens (Committee for Palestinian Welfare and Relief) (“CBSP”) to 13 charities

   (the “13 Charities”), which plaintiffs contend are alter egos of or controlled by Hamas, an FTO.

   See, Strauss III, 925 F. Supp.2d at 453. As discussed above, the ATA sets forth four separate

   requirements for an act to constitute international terrorism. The act at issue must: (1) involve

   violence or endanger human life; (2) violate federal or state criminal law if committed in the United

   States; (3) appear intended to intimidate or coerce civilian population, influence government

   policy, or affect government conduct by specified means; and (4) occur primarily outside the

   United States or transcend national boundaries. See, Licci, 673 F.3d at 68. The Court did not

   consider in its previous decisions whether Defendant’s acts satisfy of all of these specific prongs.

   See, e.g., Strauss III, 925 F. Supp.2d 414. Defendant argues that it is entitled to summary judgment

   because Plaintiffs cannot satisfy all four requirements.           See generally, Mot.       Specifically,



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   Defendant contends that there is no triable issue of fact as to whether Defendant engaged in violent

   acts or acts dangerous to human life and did so with terroristic intent and, thus, Plaintiffs cannot

   demonstrate the first and third prongs discussed in Linde.

          For purposes of its summary judgment motion and because the Court previously ruled in

   Plaintiffs’ favor on the issues, See generally, Strauss III, Defendant assumes that a triable issue of

   fact remains as to whether Defendant knowingly provided material support to an FTO in violation

   of § 2339B. See, Mot. at 5, n.4. Thus, Defendant does not dispute that the second Linde prong

   presents a triable issue of fact. Additionally, Defendant does not dispute the fourth Linde prong,

   that its alleged conduct occurred primarily outside the United States or transcended national

   boundaries. Id. at 5, n.3.

          A. Violent Acts or Acts Dangerous to Human Life

          Defendant contends that no reasonable juror could find that Defendant’s routine banking

   services to CBSP involved violent acts or acts dangerous to human life. See, Mot. at 9. Defendant

   argues that undisputed evidence demonstrates that, to Defendant’s knowledge, CBSP was a charity

   “aiming to do good works in a deeply deprived and troubled region.” Id. at 9-10. To support this

   contention, Defendant points to CBSP’s bylaws, which describe CBSP’s charitable objectives. Id.;

   See also, Defendant’s Supplemental Rule 56.1 Statement (“CL 56.1 Stmt.”), Strauss, Dkt. Entry

   No. 464 ¶ 1; Declaration of Mark E. McDonald in Support of Mot. (“McDonald Decl.”), Strauss,

   Dkt. Entry No. 463, Ex. 1. Defendant provides evidence demonstrating that, of the transfers

   processed by Defendant to the 13 Charities on behalf of CBSP that contained a stated purpose, the

   transfers were earmarked for charitable purposes. Mot. at 10; CL 56.1 Stmt. ¶¶ 6-7; McDonald

   Decl., Ex. 4. None of the transfers processed by Defendant were marked as being for a specific

   violent or terroristic purpose. Id. Furthermore, Defendant’s employee, Robert Audren, who



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   worked in Defendant’s Financial Security Unit and reviewed activity in CBSP’s accounts, testified

   that he found CBSP’s transfers were “perfectly coherent with the stated purpose of [CBSP] which

   was, in fact, welfare and solidarity with Palestine.” Mot. at 11; CL 56.1 Stmt. ¶ 3. Audren

   understood the beneficiaries of CBSP’s transfers to be “charitable Muslim associations.” Mot. at

   11; CL 56.1 Stmt. ¶ 4.

          Plaintiffs concede that there is no evidence that any of CBSP’s transfers to the 13 Charities

   processed by Defendant were identified as being for any specific violent of terroristic purpose.

   See, Plaintiffs’ Response to Defendant’s 2011 Rule 56.1 Statement (“Pls.’ Resp. to 2011 56.1

   Stmt.”), Strauss, Dkt. Entry No. 308 ¶ 255 (“Plaintiffs admit they do not contend that any of the

   funds CBSP transferred from the accounts it maintained with Crédit Lyonnais to Hamas were used

   specifically to finance any of the terrorist attacks that injured Plaintiffs and/or killed their loved

   ones.”) (internal quotation marks and citation omitted). Furthermore, Plaintiffs’ experts, Dr.

   Matthew Levitt and Mr. Arieh Spitzen, admitted that the 13 Charities performed charitable work.

   See, Defendant’s 2011 Rule 56.1 Statement (“CL 2011 56.1 Stmt.”), Strauss, Dkt. Entry No. 304

   ¶¶ 269-71.

          Citing to the expert reports by Levitt and Spitzen, Plaintiffs instead argue that the evidence

   demonstrates that the 13 Charities were controlled by Hamas founders and that the 13 Charities

   “were instrumental in organizing and distributing payments to families of suicide bombers and

   other terrorists.” See, Mot. at 10 (citing Plaintiffs’ Supplemental Rule 56.1 Statement (“Pls.’ 56.1

   Stmt.”), Strauss, Dkt. Entry No. 469 ¶¶ 2-6 and Declaration of Aaron Schlanger (“Schlanger

   Decl.”), Strauss, Dkt Entry No. 467, Exs. 23, 24). Plaintiffs claim that the evidence shows that

   the 13 Charities “recruited Hamas operatives to commit terrorist attacks.” See, Id. at 11 (citing

   Pls.’ 56.1 Stmt. ¶ 4 and Schlanger Decl. Ex. 3). Plaintiffs further assert that the 13 Charities were



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   “integral to Hamas’s structure and operational capacity,” without providing evidentiary support

   for such an assertion. See, Id. at 11.

              Defendants rely on concessions made by Plaintiffs’ own experts, Levitt and Spitzen, to

   counter the arguments made by Plaintiffs. See, Reply at 6. Specifically, Levitt does not opine that

   any funds transferred by CBSP through Defendant accounts were used to perpetrate the 15 attacks

   or that any of the 12 Charities 3 participated in, planned, trained the perpetrators of, requested that

   someone carry out, or was the cause of any of the 15 attacks. See, Id. at 12-13 (citing Pls.’ Resp.

   to 2011 56.1 Stmt. ¶¶ 260-63, 265-66). Similarly, Spitzen does not opine that any funds transferred

   by CBSP through its Defendant account were used to perpetrate the 15 attacks or that any of the

   13 Charities participated in, planned, trained the perpetrators of, requested that someone carry out,

   or was the cause of any of the 15 attacks. See, Reply at 6; See also, Mot. at 12-13 (citing Pls.’

   Resp. to 2011 56.1 Stmt. ¶¶ 272-75, 277-78). Defendant further maintains that the evidence upon

   which Plaintiffs rely does not relate to the wire transfers processed by Defendant. See, Reply at 6.

              The Court previously held that Plaintiffs’ allegations survive summary judgment as to

   whether Defendant had the requisite scienter under the material support statute, § 2339B. See,

   Strauss III, 925 F. Supp.2d at 427-31 (“[W]hen viewing the record in the light most favorable to

   Plaintiffs, there is a genuine issue of material fact as to whether Defendant knowingly provided

   material support to a terrorist organization.”). In Weiss, the Second Circuit explained that § 2339

   “requires only a showing that [Defendant] had knowledge that, or exhibited deliberate indifference

   to whether, [Defendant’s SDGT banking client] provided material support to a terrorist

   organization, irrespective of whether [Defendant’s SDGT banking client]’s support aided terrorist

   activities of the terrorist organization.” 768 F.3d at 205 (alterations in original).



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       The Expert Report of Dr. Matthew Levitt refers only to twelve of the 13 Charities. See, Mot. at 13, n.8.

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          However, § 2331(1) specifies that, to constitute an act of international terrorism supporting

   civil liability under § 2333, Defendant’s activities must meet the definitional requirements of

   international terrorism § 2331(1).     See, 18 U.S.C. § 2331(1).       Thus, as the Second Circuit

   subsequently elaborated in 2018 in Linde, a violation of § 2339(B) “does not invariably equate to

   an act of international terrorism.” Linde, 882 F.3d at 326. While, “conduct that violates a material

   support statute can also satisfy the § 2331(1) definitional requirements of international terrorism

   in some circumstances,” Id. (emphasis added), a reasonable juror cannot conclude that Defendant’s

   alleged conduct involves violence or endangers human life.

          Plaintiffs assert that the issue of whether Defendant’s conduct satisfies the elements of

   § 2331(1) and § 2333(d) always is a question for the jury. See, Opp. at 3. However, that assertion

   is not supported by the Second Circuit’s ruling in Linde. Instead, the Second Circuit concluded in

   Linde that, in that case, the acts alleged, i.e., “providing routine financial services to members and

   associates of terrorist organizations,” were “not so akin to providing a loaded gun to a child as to

   . . . compel a finding that as a matter of law, the services were violent or life-endangering acts that

   appeared intended to coerce civilians or to influence or affect government.” Linde, 882 F.3d at

   327. Linde did not preclude a finding that, as a matter of law, providing routine financial services

   for charitable purposes to charities that include members and associates of terrorist organizations

   is not a violent act or act dangerous to human life under § 2331(1).

          The Second Circuit remanded the Linde case for the jury to determine whether the

   § 2331(1) requirements were satisfied without finding that defendant Arab Bank did not satisfy

   the § 2331(1) requirements as a matter of law. Id. However, evidence was presented in the Linde

   case that is not present in this case. See, Id. at 321-22. For example, Arab Bank executed wire

   transfers for known Hamas leaders and operatives. Id. at 321. At least one Hamas spokesman



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   held an account at an Arab Bank branch. Id. Arab Bank employees admitted their awareness of

   the Hamas affiliations. Id. Arab Bank processed transfers on behalf of purported charities known

   to funnel money to Hamas.        Id. Notably, some of the Arab Bank transfers were identified

   explicitly as payments for suicide bombings. Id. at 321-22. There is no evidence that the transfers

   Defendant processed on behalf of the 13 Charities were used explicitly for purposes similar to

   those described in Linde.

          Without guidance from the Second Circuit as to the types of activities that would constitute

   violent acts or acts dangerous to human life, the Court looks to the plain language of the statute.

   Black’s Law Dictionary offers three definitions of ‘violent’: (1) “[o]f, relating to, or characterized

   by strong physical force;” (2) “[r]esulting from extreme or intense force;” and (3) “[v]ehemently

   or passionately threatening.” Violent, Black’s Law Dictionary (10th ed. 2014). Black’s Law

   Dictionary offers two definitions of ‘dangerous’: (1) “([o]f a condition, situation, etc.) perilous;

   hazardous; unsafe;” and (2) “([o]f a person, an object, etc.) likely to cause serious bodily harm.”

   Dangerous, Id.

          While the evidence Plaintiffs rely upon is sufficient to demonstrate a triable issue of fact

   as to whether Defendant provided material support to a foreign terrorist organization in violation

   of § 2339B, the evidence does not warrant a trial as to whether Defendant’s activities involved

   violent acts or acts dangerous to human life as required under § 2331(1). Plaintiffs’ reliance on

   the fact that the 13 Charities were controlled by Hamas founders, without more, is insufficient to

   prove that Defendant’s activities were violent or endangered human life. Indeed, Plaintiffs offer

   no evidence, and their experts do not opine, that the 13 Charities participated in, planned, trained

   the perpetrators of, requested that someone carry out, or were the cause of the attacks giving rise

   to Plaintiffs’ claims. Plaintiffs identify no transfers from CBSP to the 13 Charities as payments



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   meant to involve a violent act or an act dangerous to human life.

          Plaintiffs contend that Defendant’s banking services to CBSP and the 13 Charities

   contributed to terrorism merely because those organizations engage in terroristic activity. See,

   Opp. at 8-9. Plaintiffs’ assertions address Defendant’s indirect contribution, through banking

   services, to terrorist activities without establishing any nexus between the banking services and

   the terrorist activities. Plaintiffs offer no evidence that Defendant’s banking services directly

   involved strong physical force, or intense force, or vehement or passionate threats. Plaintiffs also

   do not offer evidence sufficient to create a factual dispute as to whether Defendant’s banking

   services directly involved peril or hazard or were likely to cause serious bodily harm.

          Thus, Defendant’s request for summary judgment as to the violent acts and acts dangerous

   to human life prong of § 2331(1) is granted because Plaintiffs fail to present evidence sufficient to

   create a jury question as to whether Defendant’s activities involved violent acts or acts dangerous

   to human life.

          B. Terroristic Intent

          The terroristic intent prong of § 2331(1) requires that Defendant’s actions “appear to be

   intended to (i) intimidate or coerce a civilian population; (ii) to influence the policy of a

   government by intimidation or coercion; or (iii) to affect the conduct of a government by mass

   destruction, assassination, or kidnapping.” 18 U.S.C. § 2331(1)(B). The “appear to be intended”

   requirement “does not depend on the actor’s beliefs, but imposes on the action an objective

   standard to recognize the apparent intention of action.” Weiss, 768 F.3d at 207, n.6. As with the

   violent act or act that is dangerous to human life prong of § 2331(1), the provision of material

   support to a terrorist organization in violation of § 2339B “does not invariably equate to an act of

   international terrorism.   Specifically, . . . providing financial services to a known terrorist



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   organization may afford material support to the organization even if the services . . . do not

   manifest the apparent intent required by § 2331(1)(B).” Linde, 882 F.3d at 326. Here, Plaintiffs

   have not alleged, and the uncontroverted evidence does not show, that Defendant’s apparent intent

   satisfies the specific intent requirement under § 2331(B).

          Plaintiffs rely on evidence apparently tending to show that Defendant provided material

   support to a terrorist organization to argue that an issue of fact exists as to whether Defendant had

   the requisite terroristic intent under § 2331. Plaintiffs rely on evidence that Defendant knowingly

   provided financial services to a designated FTO, which satisfies the scienter requirement under

   § 2339. See, Opp. at 13-14 (discussing a New York State Department of Financial Services

   Consent Order with Crédit Agricole Corporate & Investment Bank New York Branch and Crédit

   Agricole S.A. and a Deferred Prosecution Agreement between the United States Attorney’s Office

   for the District of Columbia and Crédit Agricole Corporate & Investment Bank).

          In Strauss III, this Court found that a genuine issue of material fact remained “as to whether

   Defendant knew about or deliberately disregarded CBSP’s purported support of Hamas or Hamas

   front groups, and that, by sending money to the 13 Charities, it was facilitating Hamas’ ability to

   carry out terrorist attacks.” 925 F. Supp.2d at 429. The evidence demonstrates that Defendant had

   concerns about CSBP’s accounts since at least 1997, and that the concerns may have been related

   to CBSP’s possible connection to terrorist groups. See, Id. at 429-431. Thus, this Court denied

   Defendant’s motion for summary judgment as to whether Defendant knowingly provided material

   support to a terrorist organization. Id. at 431.

          However, as clarified by the Second Circuit in Linde, the scienter requirement of the

   predicate material support statute is not the same as the definitional requirements of terroristic

   intent in § 2331(1). See, 882 F.3d at 328. In Linde, the Second Circuit provided an example of an



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   action that would constitute material support and satisfy the requirements for international

   terrorism as defined by § 2331(1):

          Most obviously, a person who voluntarily acts as a suicide bomber for Hamas in
          Israel can thereby provide material support to that terrorist organization while also
          committing an act of terrorism himself. The suicide bombing is unquestionably a
          violent act whose apparent intent is to intimidate civilians or influence government.

   Id. at 326. In Linde, the evidence demonstrated that defendant Arab Bank processed bank transfers

   that “were explicitly identified as payments for suicide bombings.” Id. at 321. The Second Circuit

   concluded that such evidence was sufficient to create a triable issue of fact as to whether Arab

   Bank’s activities satisfied the intent requirement under § 2331(1)(B). Id. at 327. Here, Plaintiffs

   provide no such evidence. Defendant merely provided banking services to CBSP for ostensibly

   charitable purposes, which does not satisfy the intent required by § 2331(B) as established by the

   Circuit in Linde. While the evidence creates an issue of fact as to whether Defendant knew about

   or deliberately disregarded CBSP’s purported support of Hamas or Hamas front groups, Plaintiffs

   adduce no evidence that Defendant had the apparent intent to intimidate or coerce a civilian

   population, influence the policy of a government by intimidation or coercion, or affect the conduct

   of a government by mass destruction, assassination, or kidnapping.

          Accordingly, Defendant’s summary judgment motion as to the terroristic intent prong of

   § 2331(1) is granted because there is no material issue of fact as to whether Defendant’s activities

   appeared to be intended to intimidate or coerce a civilian population, influence the policy of a

   government by intimidation or coercion, or affect the conduct of a government by mass

   destruction, assassination, or kidnapping.

   II.    Plaintiffs’ Aiding and Abetting Claims

          Although Judge Sifton dismissed Plaintiffs’ aiding and abetting claims in 2006, Plaintiffs

   contend that they properly have asserted an aiding and abetting claim by including a claim pursuant


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   to § 2333(d) in the proposed joint pretrial order. See, Strauss, Dkt. Entry No. 458, filed on March

   8, 2018, and Opp. at 15, n.16. Defendant argues that this Court already dismissed Plaintiffs’ aiding

   and abetting claim, and that Plaintiffs have not sought to replead any such claim. See, Mot. at 21-

   22. Defendant further contends that, even if the Court permits Plaintiffs to plead an aiding and

   abetting claim, Defendant is entitled to summary judgment on that claim. See, Id. at 21-24.

           A. The Joint Pretrial Order

           In the proposed joint pretrial order, Plaintiffs allege that Defendant is liable under

   § 2333(d) for aiding and abetting a person or entity who committed an attack committed, planned,

   or authorized by a FTO. See, Strauss, Dkt. Entry No. 458 at 3-6. Specifically, Plaintiffs allege

   that:

           (1) Hamas was responsible for the attacks that injured the Plaintiffs; (2) Defendant
           provided substantial assistance to Hamas for its terrorist activities, including these
           attacks, by transferring significant sums of money to organizations that it knew (or
           consciously avoided knowing) were controlled by Hamas; and (3) Defendant’s acts
           were a substantial factor in causing the Plaintiffs’ injuries and those injuries were a
           reasonably foreseeable result of the significant sums of money Defendant sent to
           Hamas.

   Id. at 5 (footnote omitted). Plaintiffs concede that the Court dismissed Plaintiffs’ common law

   aiding and abetting claim previously, but allege that, because JASTA expressly is retroactive,

   § 2333(d) provides a new and superseding legal basis for Plaintiffs’ aiding and abetting claims,

   and that Halberstam is “the proper legal framework” for evaluating such claims. Id. at 5-6 (citing

   Linde, 882 F.3d at 329). Defendant’s summary of defenses in the proposed joint pretrial order

   includes a statement that, “[t]he claims to be tried do not include an aiding and abetting claim

   because Judge Sifton dismissed the only aiding and abetting claim plaintiffs have ever pleaded in

   these lawsuits long ago.” Id. at 6, n.4 (citing Strauss I, 2006 WL 2862704, at *9).

           Plaintiffs contend that they are entitled to proceed on the aiding and abetting claims alleged



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   in the proposed joint pretrial order because Rule 16(d) “provides that a pretrial order controls the

   course of the action, and such an action supersedes the pleadings.” Opp. at 15, n.16 (quotations

   and citations omitted). Plaintiffs offer that, should the Court prefer that Plaintiffs assert their

   § 2333(d) claims by amending their complaint rather than through a pretrial order, Plaintiffs would

   comply. Id.

          As a threshold matter, the Court must decide whether it will permit Plaintiffs to include an

   aiding and abetting claim under § 2333(d) in the pretrial order even though Plaintiffs have not

   included the statutory claim in the pleadings. While a pretrial order does supersede all prior

   pleadings and controls the subsequent course of the action, See, Rockwell International Corp. v.

   United States, 549 U.S. 457, 474 (2007), the Court normally does not expect to see claims or

   defenses not contained in the pleadings appearing for the first time in the pretrial order, particularly

   in a case such as this that has been pending a long time and has had substantial motion practice.

   See, Wilson v. Muckala, 303 F.3d 1207, 1215 (10th Cir. 2002) (“The laudable purpose of Fed. R.

   Civ. P. 16 is to avoid surprise, not foment it.”). Instead, a party may amend its pleading to add

   claims with the court’s leave. See, Fed. R. Civ. P. 15(a). Accordingly, the Court will not permit

   Plaintiffs to raise JASTA claims for the first time in the pretrial order.

          The Court instead will consider whether it will grant Plaintiffs leave to amend their

   complaint pursuant to Federal Rule of Civil Procedure 15(a), even though Plaintiffs ask for this

   relief only in the alternative to the Court’s acceptance of the claim in the pretrial order, fashions

   the request as a cross-motion in a footnote in the opposition, and does not attach a proposed

   amended complaint. See, Opp. at 15, n.16 (“Should the Court prefer that Plaintiffs assert their §

   2333(d) claims by amended their complaints rather than through the Joint Pre-Trial Order, they

   will of course do so.”).



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          Federal Rule of Civil Procedure 15(a) provides that a party shall be given leave to amend

   “when justice so requires.” Id. “Leave to amend should be freely granted, but the district court

   has the discretion to deny leave if there is a good reason for it, such as futility, bad faith, undue

   delay, or undue prejudice to the opposing party.” Jin v. Metro. Life Ins. Co., 310 F.3d 84, 101 (2d

   Cir. 2002); See also, Local 802, Assoc. Musicians of Greater N.Y. v. Parker Meridien Hotel, 145

   F.3d 85, 89 (2d Cir. 1998). If a scheduling order has been entered setting a deadline for

   amendments, the schedule “may be modified” to allow the amendment “only for good cause and

   with the judge's consent.” Fed. R. Civ. P. 16(b)(4).

          Here, a June 1, 2016 order set the deadline of June 17, 2016, for Plaintiffs to file the

   operative amended complaints. See, June 1, 2016 ECF Order. Although Plaintiffs met that

   deadline by filing Amended Complaints on June 17, 2016, See, Amended Complaint, Strauss, Dkt.

   Entry No. 408, and Amended Complaint, Wolf, Dkt. Entry No. 287, Plaintiffs could not have

   included their JASTA claims in the amended complaints because Congress enacted JASTA over

   three months later on September 28, 2016. “A finding of good cause depends on the diligence of

   the moving party.” Grochowski v. Phoenix Constr., 318 F.3d 80, 86 (2d Cir. 2003) (citing Parker

   v. Columbia Pictures Indus., 204 F.3d 326, 340 (2d Cir. 2000)). The enactment of an explicitly

   retroactive statute after a scheduling deadline constitutes sufficient good cause.

          Nonetheless, Defendant argues that Plaintiffs should not be able to raise these claims

   because Judge Sifton addressed them in Strauss I. See, Mot. at 21. However, Judge Sifton

   dismissed Plaintiffs’ common law aiding and abetting claims, but did not, and could not address

   Plaintiffs’ statutory aiding and abetting claims under JASTA as the statute did not exist at the time.

   See, Owens v. BNP Paribas, S.A., 897 F. 3d 266, 278 (D.C. Cir. 2018) (“JASTA does not indicate

   that Congress merely “clarified” existing law when it amended § 2333. . . . If anything, JASTA’s



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   passage confirms that Congress knows how to provide for aiding and abetting liability explicitly

   and that the version of § 2333 in effect [previously] did not provide for that liability.”). Defendant

   contends that Judge Sifton relied on the same legal framework for dismissing Plaintiffs’ common

   law aiding and abetting claims as required for dismissing JASTA claims. See, Reply at 8-9, 9, n.9

   (citing Strauss I, 2006 WL 286704, at *9). Specifically, Defendant contends that Judge Sifton

   evaluated Plaintiffs’ aiding and abetting claim by relying on aiding and abetting precedent set forth

   in In re Terrorist Attacks on Sept. 11, which considered the Halberstam elements. See, Id. (citing

   In re Terrorist Attacks on Sept. 11, 2001, 349 F. Supp.2d 765, 798-800 (S.D.N.Y. 2005)). While

   Judge Sifton did reference In re Terrorist Attacks on Sept. 11, 2001, it is unclear from Strauss I

   whether he applied the Halberstam factors. See, Strauss I, 2006 WL 2862704, at *9. The Second

   Circuit in Linde made clear that the Halberstam elements of civil aiding and abetting liability and

   factors relevant to the substantial assistance element provide the proper legal framework for

   evaluating a JASTA aiding and abetting claim. 882 F.3d at 329. Because it is unclear whether

   Judge Sifton applied that framework, the Court does not consider the decision in Strauss I as a bar

   to Plaintiffs amending their complaint. However, for the reasons that follow immediately below,

   amendment of the complaint is denied as futile.

          B. Summary Judgment on Plaintiffs’ § 2333(d) Claims

          Finally, Defendant maintains that, even if the Court were to permit Defendant to amend its

   complaint to include an aiding and abetting claim under JASTA, the amendment would be futile

   because Defendant would be entitled to summary judgment as to that claim. See, Opp. at 21-24.

   As a general matter, a Rule 12(b)(6) motion is the benchmark for determining whether amendment

   is futile. See, Lucente v. International Business Machines Corp., 310 F.3d 243, 258 (2d Cir. 2002)

   (“An amendment to a pleading is futile if the proposed claim could not withstand a motion to



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   dismiss pursuant to Fed. R. Civ. P. 12(b)(6).”); See also, Alexander v. Westbury Union Free School

   District, 829 F. Supp.2d 89, 118-19 (E.D.N.Y. 2011) (“Usually, a proposed amendment is futile if

   it could not survive a Rule 12(b)(6) motion to dismiss for failure to state [a] claim.”). However,

   “when a motion to amend is made in response to a summary judgment motion, the court may deny

   the amendment as futile when the evidence in support of the plaintiff's proposed new claim creates

   no triable issue of fact, even if the amended complaint would state a valid claim on its face.”

   Alexander, 829 F. Supp.2d at 119 (citing Milanese v. Rust-Oleum Corp., 244 F.3d 104,110 (2d

   Cir. 2001)). Here, amendment would be futile because Plaintiffs’ proposed JASTA claim fails as

   a matter of law.

          Plaintiffs again rely on evidence that apparently tends to support a finding that Defendant

   had the requisite scienter required for providing material support to a terrorist organization under

   § 2339B to support their claim that Defendant had the requisite scienter for aiding and abetting

   liability under JASTA. See, Opp. at 23-25. Specifically, Plaintiffs assert that Defendant was

   “generally aware of its role as repository and distribution mechanism for CBSP’s continuing

   criminal enterprise which carried a foreseeable and enormous . . . risk of terror attacks.” Id. at 23-

   24. However, as discussed in detail above, Plaintiffs present no evidence that creates a triable jury

   question as to whether Defendant generally was aware that it played a role in any of Hamas’ or

   even CBSP’s violent or life-endangering activities. Evidence that Defendant knowingly provided

   banking services to a terrorist organization, without more, is insufficient to satisfy JASTA’s

   scienter requirement.

          Plaintiffs’ proposed JASTA aiding and abetting claim cannot survive summary judgment.

   Accordingly, such an amendment would be futile and Plaintiffs’ motion for leave to amend the

   complaint is denied with prejudice.



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                                            CONCLUSION

          For the foregoing reasons, Defendant’s summary judgment motion as to Plaintiffs’

   remaining claims of civil liability under the ATA is granted in its entirety. Plaintiffs’ motion for

   leave to amend the complaint to add a claim under JASTA is denied.

   SO ORDERED.

   Dated: Brooklyn, New York
          March 31, 2019
                                                         _______________/s/_____________
                                                               DORA L. IRIZARRY
                                                                   Chief Judge




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